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                             UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF MASSACHUSETTS


    In re:

    TOP LINE GRANITE DESIGN INC.,                                   Chapter 11

                                                                    Case No. 22-40216 (EDK)

              Debtor.


    INTERIM ORDER (i) AUTHORIZING THE DEBTOR TO OBTAIN POSTPETITION
       FINANCING, AND (ii) GRANTING SUPERPRIORITY CLAIM, SECURITY
              INTEREST, AND PRIMING LIEN TO THE DIP LENDER

             Upon the motion (the “Motion”)1 of the above-captioned debtor (the “Debtor”) in this

chapter 11 case (the “Case”) seeking entry of an interim order (this “Interim DIP Order”), inter

alia:

             1.    Authorizing the Debtor (i) to obtain post-petition financing, consisting of senior

secured superpriority term loans (the “DIP Loans”) in an aggregate maximum amount of

$1,000,000.00 (the “DIP Commitment”) from certain investment fund(s) for which Legalist, Inc.,

as investment adviser and DIP lender (the “DIP Lender”), as provided in that certain Debtor-in-

Possession Term Loan Credit Agreement, dated as of May 13, 2022, among the Debtor and the

DIP Lender (the “DIP Credit Agreement”), attached hereto as Exhibit A, (ii) to borrow

$400,000.00 of the DIP Commitment on an interim basis, and (iii) to incur the DIP Obligations

contemplated thereby;




1
 Capitalized terms used herein but not defined shall have the meanings given to them in the Motion or the DIP Credit
Agreement, as applicable.
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       2.      Authorizing the Debtor to execute and enter into, and to perform all acts necessary

or desirable to consummate the transactions contemplated by, the DIP Credit Agreement and other

DIP Loan Documents;

       3.      Authorizing the Debtor to use the proceeds of the DIP Loans, as permitted in the

DIP Loan Documents;

       4.      Providing that all DIP Obligations shall, pursuant to sections 364(c) and (d), as

applicable, of title 11 of the United States Code (the “Bankruptcy Code”) constitute DIP Claims,

payable from and having recourse to all property of the Debtor’s estate as set forth herein and in

the DIP Credit Agreement;

       5.      Authorizing the Debtor to grant the DIP Lender automatically perfected DIP Liens

(as defined below) in all DIP Collateral to secure pay of all DIP Obligations, comprising:

                (i)     Pursuant to Bankruptcy Code section 364(c)(2), senior DIP Liens on all DIP
Collateral not subject to Existing Liens;

               (ii)    Pursuant to Bankruptcy Code section 364(c)(3), junior DIP Liens on all DIP
Collateral subject to Existing Liens;

               (iii) Pursuant to Bankruptcy Code section 364(d)(1), equal DIP Liens on all DIP
Collateral subject to Existing Liens; and

               (iv)    Pursuant to Bankruptcy Code section 364(d)(1), senior DIP Liens on all DIP
Collateral subject to Existing Liens;

       6.      Vacating and/or modifying the automatic stay, pursuant to Bankruptcy Code

section 362, to the extent necessary to (x) consummate the transactions contemplated by the DIP

Loan Documents and (y) permit the DIP Lender to exercise any right or remedy provided therein;

and

       7.      Granting the Debtor such other and further relief as is just and proper; and




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       The Court having held an interim hearing on the Motion on May 18, 2022 and considered

any objection to the Motion, and good cause appearing therefor, it is hereby FOUND and

CONCLUDED that:

       A.      On March 25, 2022 (the “Petition Date”), the Debtor filed a voluntary petition in

this Court for relief under Bankruptcy Code chapter 11;

       B.      This Court has jurisdiction over the Case and the Motion under 28 U.S.C. §§ 157(b)

and 1334, this matter is a core proceeding under 28 U.S.C. § 157(b)(2), venue is proper under 28

U.S.C. §§ 1408 and 1409, and the Court has authority to enter this Interim DIP Order consistent

with §§ 105, 361, 362, 363, 364, 503, and 507 of the Bankruptcy Code; Rules 2002, 4001, 6004,

and 9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”); and MLBR

4001-2, and 9013-1(g) .

       C.      An immediate and ongoing need exists for the Debtor to obtain postpetition

financing in the amount of the DIP Commitment to reorganize under Bankruptcy Code chapter 11,

and the Debtor does not otherwise have sufficient funds available to make certain necessary

payments as set forth in the Motion;

       D.      The Debtor is unable to obtain unsecured credit under Bankruptcy Code section

503 or other postpetition financing in the amount of the DIP Commitment on terms more favorable

than those provided by the DIP Lender;

       E.      Sufficient and adequate notice of the Motion and entry of this Interim DIP Order

has been given under Bankruptcy Code section 364 and Bankruptcy Rules 2002 and 4001, such

that no other or further notice of the Motion or entry of this Interim DIP Order is needed;

       F.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, have been

negotiated in good faith and at arm’s length between the Debtor and DIP Lender, and the DIP




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Lender is entitled to the protections of Bankruptcy Code section 364(e) with respect to all DIP

Loans, DIP Liens, DIP Claims, DIP Obligations, DIP Loan Documents, and rights and remedies

of the DIP Lender;

       G.      The terms of the DIP Loans, as set forth in the DIP Loan Documents, are fair and

reasonable and reflect the Debtor’s exercise of its prudent business judgment consistent with its

fiduciary duties, and the DIP Lender has provided fair, adequate, and sufficient consideration that

constitutes reasonably equivalent value for the DIP Liens, DIP Claims, and all other rights,

protections, and benefits obtained by it under any DIP Loan Document;

       H.      Entry of this Interim DIP Order is in the best interests of the Debtor’s estate and its

various stakeholders because it will, inter alia, allow the Debtor to reorganize under Bankruptcy

Code chapter 11; and

       I.      The DIP Lender is willing to provide the DIP Loans to the Debtor, but only on the

terms of the DIP Loan Documents.

       WHEREFORE, it is hereby ORDERED that the motion is GRANTED ON AN

INTERIM BASIS in accordance with the terms and conditions set forth in this Order and:

       1.      Any remaining objections to the Motion or entry of this Interim DIP Order are

hereby overruled without prejudice.

       2.      The execution and delivery of the DIP Credit Agreement and all other DIP Loan

Documents by the Debtor is authorized and approved, and the Debtor is authorized and empowered

to (x) execute and deliver to the DIP Lender all other documents and instruments necessary or

desirable to consummate the transactions contemplated thereby, (y) take all other actions necessary

or desirable to carry out the intent and purpose of the DIP Loan Documents, and (z) otherwise

comply with the DIP Loan Documents and all requests of the DIP Lender thereunder.




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       3.      The Debtor is authorized to borrow on an interim basis $400,000.00 of the DIP

Commitment in one or more DIP Draws on the terms of the DIP Loan Documents, without

application to or further order by the Court.

       4.      All interest, fees, and expenses (expressly including all DIP Lender Expenses)

contemplated by the DIP Loan Documents are authorized to be incurred by the Debtor as DIP

Obligations and approved for payment as DIP Claims during this interim period, provided that

the DIP Lender shall file a statement of such fees and costs (the “Fee Statement”) with the Court

without the necessity of filing formal fee applications, subject to an objection deadline to be set by

the Court.

       5.       All DIP Obligations, pursuant to Bankruptcy Code sections 364(c) and (d), as

applicable, constitute DIP Claims, payable from and having recourse to all property of the Debtor’s

estate (expressly including all DIP Collateral); provided that the DIP Lien shall not attach to any

avoidance powers held by the Debtor or any trustee for the Debtor, including those avoidance

power set forth in sections 544, 545, 547, 548, 549, 550, 551, or 553 of the Bankruptcy Code, or

to the proceeds of any claims under or actions commenced pursuant to such powers.

       6.      The DIP Lender holds security interests in and liens on all DIP Collateral, which

the Debtor has (to the extent of its right, title, and interest therein) assigned and conveyed as

security, hypothecated, mortgaged, pledged, and set over and unto the DIP Lender, and which have

been automatically perfected notwithstanding any notice or recordation requirements of non-

bankruptcy law (collectively, the “DIP Liens”), comprising:

                (i)     Pursuant to Bankruptcy Code section 364(c)(2), senior DIP Liens on all DIP
Collateral not subject to Existing Liens;

               (ii)    Pursuant to Bankruptcy Code section 364(c)(3), junior DIP Liens on all DIP
Collateral subject to Existing Liens;




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               (iii) Pursuant to Bankruptcy Code section 364(d)(1), equal DIP Liens on all DIP
Collateral subject to Existing Liens; and

               (iv)    Pursuant to Bankruptcy Code section 364(d)(1), senior DIP Liens on all DIP
Collateral subject to Existing Liens.

       7.      The proceeds of the DIP Loans shall be used by the Debtor as set forth in the DIP

Credit Agreement; provided that no portion of the DIP Loans shall be used for fees, costs, or

expenses incurred by any party in (x) investigating or pursuing any claim or cause of action against

the DIP Lender, any Affiliate thereof, or any other Indemnified Person or (y) questioning or

challenging, or taking any other action that could reasonably be expected otherwise to impair, any

DIP Loan, DIP Lien, DIP Claim, DIP Obligation, DIP Loan Document, or right or remedy of the

DIP Lender.

       8.      So long as any DIP Obligation remains outstanding, the Debtor shall perform each

covenant contained in the DIP Loan Documents (other than those covenants that, under the DIP

Loan Documents, shall survive full and indefeasible payment of the DIP Obligations).

       9.      The DIP Loans shall mature, and all DIP Obligations shall be immediately due and

payable upon the Maturity Date.

       10.     An Event of Default shall exist during the occurrence and continuation of each of

the events so identified in the DIP Loan Documents.

       11.     Notwithstanding Bankruptcy Code section 362, while any Event of Default has

occurred and is continuing, the DIP Lender may immediately, without further order of or

application to the Bankruptcy Court:

               (i)     Declare the DIP Commitment terminated; and

              (ii)    Declare all DIP Obligations immediately due and payable, without the
requirement of presentment, demand, protest, or any other notice, all of which are waived by the
Debtor.




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       12.     Furthermore, while any Event of Default has occurred and is continuing, the DIP

Lender may move or apply to the Bankruptcy Court for entry of an order:

       (i)     Terminating the automatic stay with respect to any DIP Collateral.

       (ii)    Appointing an examiner or chapter 11 trustee (other than the Subchapter V trustee).

       (iii)   Converting the Debtor’s Case to chapter 7.

Provided that, if the DIP Lender so moves or applies, the Debtor shall be limited to contesting

solely whether the Event of Default has occurred and/or is continuing, and the Debtor has expressly

waived the right to contest such relief whatsoever beyond the foregoing limitation.

       13.     In addition to the rights and remedies enumerated in Paragraphs 11 and 12, the DIP

Lender shall be entitled, while any Event of Default has occurred and is continuing, to pursue all

rights and remedies available to it under the Bankruptcy Code (whether as a creditor, party in

interest, or otherwise) or as a secured party under the Uniform Commercial Code. For the

avoidance of doubt, all costs incurred by the DIP Lender in connection with any default or Event

of Default under any DIP Loan Document shall constitute DIP Lender Expenses and DIP

Obligations for all purposes, to the extent such costs are allowed after approval of the Fee

Statement.

       14.     In consideration of the DIP Lender’s consent to the payments of certain

administrative expenses of the Debtor’s estate as set forth in the budget attached to the DIP

Financing Agreement, the DIP Lender is entitled to a full and complete waiver, unless the Court

orders otherwise, with respect to all parties, of Bankruptcy Code section 506(c) and in no event

shall any the DIP Lender or DIP Collateral be subject to any “surcharge” or the doctrine of

“marshalling” by any party in any way whatsoever.




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       15.     The automatic stay imposed by Bankruptcy Code section 362(a) is and shall remain

modified to the extent necessary to implement and effectuate in full this Interim DIP Order and

the other DIP Loan Documents (expressly including any exercise of rights and remedies by the

DIP Lender) and the transactions contemplated thereby.

       16.     Any stay, modification, reversal, or vacation of this Interim DIP Order shall not, in

any way whatsoever, affect any DIP Loan, DIP Lien, DIP Claim, DIP Obligation, other DIP Loan

Document, or right or remedy of the DIP Lender. Notwithstanding any such stay, modification,

reversal, or vacation, all DIP Loans, DIP Liens, DIP Claims, DIP Obligations, other DIP Loan

Documents, and rights and remedies of the DIP Lender made, available, and/or in effect prior to

the effective date of such stay, modification, reversal, or vacation shall be governed in all respects

by this Interim DIP Order as originally entered by the Court. The DIP Lender is entitled to and

shall have in all cases the protections of Bankruptcy Code section 364(e) with respect to all DIP

Loans, DIP Liens, DIP Claims, DIP Obligations, other DIP Loan Documents, and rights and

remedies and shall be so protected notwithstanding any stay, modification, reversal, or vacation of

this Interim DIP Order.

       17.     This Interim DIP Order shall survive entry of any order, in this Court or any other

court of competent jurisdiction, (w) confirming a chapter 11 plan (and, to the extent not satisfied

in full in cash on the Maturity Date, the DIP Obligations shall not be discharged under or by entry

of such order, notwithstanding Bankruptcy Code section 1141(d)), (x) appointing an examiner or

chapter 11 trustee, (y) converting the Case to a case under Bankruptcy Code chapter 7, or

(z) dismissing the Case. This Interim DIP Order, together with all DIP Loans, DIP Liens, DIP

Claims, DIP Obligations, other DIP Loan Documents, and rights and remedies of the DIP Lender




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shall continue in full force and effect, notwithstanding the entry of any such order, until full and

indefeasible payment of all DIP Obligations.

       18.     Nothing on this Order shall affect the Cash Collateral order previously entered by

this Court or post-petition liens granted pursuant to such prior order, except that such post-petition

liens shall be subject to the DIP Lien.

       19.     In the event of any inconsistency between any other DIP Loan Document and this

Interim DIP Order, the terms hereof shall govern.

       20.     The final hearing on the Motion is hereby scheduled for June 24, 2022 at 11:00

a.m. The hearing will be conducted by Zoom video conference. Parties may participate by

following the link/dial-in information:

To participate by video:

https://www.zoomgov.com/j/1614423648?pwd=VVBUYkwrR3JvMXU0L3hHTFltcHdRZz09

Meeting ID: 161 442 3648
Passcode: 997403

To participate by phone:

+1 669 254 5252

Meeting ID: 161 442 3648
Passcode: 997403

Any party in interest objecting to the relief requested in the Motion shall file a written objection

with the Clerk of the Court (and serve such objection on counsel to the Debtor, the Subchapter V

trustee, the US Trustee’s office, and the DIP Lender as set forth in the Debtor’s certificate of

service) no later than 4:00 p.m. (Eastern time) on June 21, 2022.

       21.     The Debtor shall serve, by United States mail, first-class postage prepaid, or other

appropriate method of service, notice of the entry of the interim DIP Order and of the final hearing




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and objection deadline on (a) the parties having been given notice of the Motion, and (b) any party

which has filed prior to such date a request for notices with this Court.

       22.     Notwithstanding Bankruptcy Rules 4001(a)(3), 6004(h), 7062, and 9014, or

anything else in the Bankruptcy Rules or any other applicable rule of procedure, this Interim DIP

Order shall be valid, take full effect, and be enforceable immediately upon entry hereof. There

shall be no stay of execution or effectiveness of this Interim DIP Order, all of which are hereby

waived for cause shown.

       23.     The Court has and shall retain jurisdiction to enforce this Interim DIP Order,

including to hear any motion or application by the DIP Lender related hereto or to any other DIP

Loan Document, according to its terms.



Dated: May 19, 2022


                                              ELIZABETH D. KATZ
                                              UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit A

                              (DIP Credit Agreement)




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